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 101-7-NFR
 /2009
 /2010
 2ems Inc.
                                                        UNITED STATES BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF ILLINOIS
                                                                EASTERN DIVISION

                  In Re:                                              §
                                                                      §
                  June W Calhoun                                      §     Case No. 16-30340
                                                                      §
                                      Debtor                          §

                                                    NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                      APPLICATIONS FOR COMPENSATION
                                                        AND DEADLINE TO OBJECT (NFR)

                           Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Zane L.
                  Zielinski, Trustee, trustee of the above styled estate, has filed a Final Report and the trustee and the
                  trustee’s professionals have filed final fee applications, which are summarized in the attached Summary
                  of Trustee's Final Report and Applications for Compensation.

                          The complete Final Report and all applications for compensation are available for inspection at
                  the Office of the Clerk, at the following address:
                                                 219 S. Dearborn Street
                                                 Chicago, IL 60604
                  Any person wishing to object to any fee application that has not already been approved or to the
                  Final Report, must file a written objection within 21 days from the mailing of this notice, serve a
                  copy of the objections upon the trustee, any party whose application is being challenged and the
                  United States Trustee. A hearing on the fee applications and any objection to the Final Report
                  will be held at 10:00 AM on 04/20/2018 in Courtroom ,
                                                 Second Floor
                                                 Joliet City Hall Building
                                                 150 West Jefferson Street
                                                 Joliet, IL 60432
                  If no objections are filed, upon entry of an order on the fee applications, the trustee may pay
                  dividends pursuant to FRBP 3009 without further order of the Court.

                  Date Mailed: 03/27/2018                                 By: /s/ Zane L. Zielinski
                                                                                           Chapter 7 Trustee


                  Zane L. Zielinski, Trustee
                  6336 N. Cicero Avenue
                  Suite 201
                  Chicago, Illinois 60646




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                                              UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF ILLINOIS
                                                      EASTERN DIVISION


      In Re:                                                                §
                                                                            §
      June W Calhoun                                                        §         Case No. 16-30340
                                                                            §
                             Debtor                                         §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                       5,636.10
                   and approved disbursements of                                                                      $                             30.00
                                                            1
                   leaving a balance on hand of                                                                       $                       5,606.10


                 Claims of secured creditors will be paid as follows:


                                                                                 NONE


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: Zane L. Zielinski, Trustee                         $             1,313.61 $                          0.00 $              1,313.61
       Trustee Expenses: Zane L. Zielinski, Trustee $                                     16.55 $                         0.00 $                    16.55
                   Total to be paid for chapter 7 administrative expenses                                             $                       1,330.16
                   Remaining Balance                                                                                  $                       4,275.94


                 Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                                 NONE



____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                            NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 46,083.62 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 9.3 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                  Allowed Amount         Interim Payment to
     Claim No.          Claimant                  of Claim               Date               Proposed Payment
     1                  Discover Bank            $          5,606.66 $               0.00 $              520.22
     2                  Sba                      $         28,936.10 $               0.00 $            2,684.88
     3                  Comenity Capital Bank    $          3,209.28 $               0.00 $              297.78
                        Capital One Bank (Usa),
     4                  N.A.                    $           4,631.50 $               0.00 $              429.74
     5                  Capital One, N.A.        $            757.65 $               0.00 $               70.30
                        U.S. Bank National
     6                  Association              $          1,942.43 $               0.00 $              180.23
     7                  Bmo Harris Bank N.A.     $          1,000.00 $               0.00 $               92.79
                Total to be paid to timely general unsecured creditors                $                4,275.94
                Remaining Balance                                                     $                     0.00


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:




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                                                          NONE


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                          NONE


                                              Prepared By: /s/ Zane L. Zielinski
                                                                             Chapter 7 Trustee


     Zane L. Zielinski, Trustee
     6336 N. Cicero Avenue
     Suite 201
     Chicago, Illinois 60646


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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